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                                        EXHIBIT 45




            MIDDLE EAS



            American Woman Was Killed After Visit
            to Sunni Office
            By DAMIEN CAVE JAN. 18, 2007
            An American woman who was killed here on Wednesday had just left the
            headquarters of a prominent Sunni political party, where she had been teaching a
            class on democracy, when her convoy of vehicles was ambushed by gunmen.

                Members of the Iraqi Islamic Party said the American woman — Andrea
            Parhamovich, 28, of Perry, Ohio —left the party s fortified compound in western
            Baghdad around 4 p.m. in a three­vehicle convoy, headed east toward the Green
            Zone, when she and her armed guards came under attack from all sides.

                Les Campbell, Middle East and North Africa director for the National
            Democratic Institute, which hired Ms. Parhamovich about three months ago, said a
            fierce firefight ensued. Guards tried to escape, fought back, and then called for
            reinforcements from other private security contractors.

                The attackers — perhaps as many as 30, Mr. Campbell said, according to
            witness accounts reaching him — used heavy weapons, possibly including grenades.
            He said they destroyed the vehicle that Ms. Parhamovich was in, killing three of her
            armed guards, and then melted away into the neighborhood.

                Saleem Abdullah, a senior member of the Iraqi Islamic Party, said that Ms.
            Parhamovich s group may have been chosen as targets when they first arrived at the
            party s compound.

                 It seems that someone, when they saw her in the area, set up an ambush, he




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            said. That s what we think.

                Mr. Campbell described Ms. Parhamovich as a driven young woman, inspired
            by politics and a desire to help Iraqis connect with their newly­elected government.

                He said she joined the National Democratic Institute — a not­for­profit
            organization based in Washington that has worked in Iraq since 2003 — about three
            months ago, after working for another organization that does similar work.

                 She was an idealistic person who saw an opportunity in Iraq to help, to work
            with people in Iraq who were interested in democracy and human rights, which is
            what she cared about.

                Mr. Abdullah said that Yarmouk, the largely Sunni area where the attack
            occurred, has become increasingly dangerous. It lies west of the Tigris River, where
            clashes between Sunni insurgents and Shiite militias have been concentrated in
            recent months.

                He said that even before Wednesday s attack, he had asked the American
            military for more protection.

                Yet the killings — with echoes of the attack on Jill Carroll, the American
            journalist who was ambushed and abducted after visiting a prominent Sunni
            politician last March — also underscored why American and Iraqi leaders have
            turned toward an ambitious military effort to retake the capital.

                Unrelenting violence has kept civil and political growth at bay here and in other
            areas of the country, limiting the involvement of American civilians and
            international agencies, and yielding an approach dominated by men carrying guns,
            dressed in camouflage.

                The violence continued today. A car bomb in central Baghdad went off around 8
            a.m., killing 4 people and wounding 15. Two other car bombings in Shiite areas east
            of the capital left six people dead, while mortar attacks across the city killed five
            people.

                An additional 26 bodies were found throughout Baghdad.




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                    And in Dora in the southern part of the city — a formerly mixed area that was
             held up as a success story by the American military as recently as this summer —
             three bombs detonated in quick succession at a wholesale vegetable market, killing
             at least 10 people and wounding 30.

                    Witnesses said the explosions happened within minutes of one another: the first
             at the entry to the market, the second in the middle and the third near the market s
             far end. It was difficult, many people said, to tell the difference between smashed
             vegetables and smashed human body parts.

                    They all are ordinary workers who are poor, said Walid al­Musawi, a worker at
             the market, of the victims in the triple bombing. They are just people looking for
             their daily bread. This guy who died, his name is Hosham, he has 6 children. This
             guy who sells sweets, who died today, lost a brother a few days ago. And now he died
             too.

                    Several people at the market said they were afraid of what an expanded
             American military operation may do to their neighborhood. This summer, when
             parts of Dora were locked down by American and Iraqi troops for days, leaving only
             one entrance and exit, residents complained that it was nearly impossible to get
             enough food, or to get to work.

                    One resident said the new security plan, involving 20,000 additional American
             troops in Iraq, most of them in Baghdad, is going to be a disaster for all Iraqis,
             whether they are rich or poor, because it will keep people from being able to work.

             Re o ing con ib ed b Abd l Ra   a al­Saiedi, Ahmad Fadam and Khalid Al­An a   f om Baghdad.



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